AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail

UNITED STATES DISTRICT COURT

for the
SOUTHERN DISTRICT OF IOWA

United States of America
Vv

: Case No. 4:21-mj-00011-HCA-1
Douglas Austin Jensen

Charging District: District of Columbia
Charging District’s Case No. 1:21-cr-6

 

Defendant

ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. The defendant must appear when notified to do so.
Defendant shall promptly make arrangements to appear in that court by video from this District, upon his release from
custody.

 

 

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Place: U.S. District Courthouse Courtroom No.: Courtroom 06 by videoconference
333 Constitution Avenue a;
NW Washington DC Date and Time: aj] 202-354-3114 to arrange

 

 

 

Date: Cn trelz :

January 21, 2021

 

. Judge's signature

Celeste F. Bremer, U.S. Magistrate Judge
Printed name and title

 
